Case 6:19-cv-00537-MJJ-PJH Document 69 Filed 11/23/20 Page 1 of 6 PagelID#: 571

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

BERNADINE D. SOILEAU, INDIVIDUALLY * CIVIL ACTION NO. 6:19-cv-00537
AND IN HER CAPACITY AS EXECUTRIX
OF THE ESTATE OF JOHN L. SOILEAU, SR.

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*
* JUDGE MICHAEL J. JUNEAU
VERSUS *
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MIDSOUTH BANCORP, INC. MAGISTRATE PATRICK J. HANNA

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BERNADINE D,. SOTLEAU’S FIFTH SUPPLEMENTAL
AND AMENDED COMPLAINT

NOW INTO COURT, through undersigned counsel, comes Bernadine D. Soileau
(“Bernadine”), individually and in her capacity as executrix of the estate of her deceased
husband, John L. Soileau, Sr. (“John”), who respectfully amends and supplements her complaint,
previously asserted in her “Fourth Amended and Restated Complaint” (Rec. Doc. 24), as
follows:

I.

Paragraph 2 of Bernadine’s Fourth Amended and Restated Complaint is replaced with the

following:
“. Made defendants herein are:

a) MidSouth Bank, National Association, a Louisiana bank, whose registered
office is located in Lafayette Parish (“MidSouth”); and

b) Zurich American Insurance Company (Policy No. DOP 0172950-01)
(“Zurich”), a foreign insurer doing business in the State of Louisiana which
provided a policy of liability insurance and/or excess coverage insuring MidSouth
for the claims asserted herein and is liable in solido with MidSouth and which
may be served through its registered agent for service of process in the State of
Louisiana: Louisiana Secretary of State, 8585 Archives Ave., Baton Rouge, LA

70809.”

[2501.00001/427125/5] 1
Case 6:19-cv-00537-MJJ-PJH Document 69 Filed 11/23/20 Page 2 of 6 PagelID #: 572

Il.
Paragraph 33 of Bernadine’s Fourth Amended and Restated Complaint is replaced with
the following:
“33A. MidSouth violated the rights of Bernadine and John under the Electronic Funds
Transfer Act (“EFTA”):

i. by allowing the transfer of funds, from December 2016 through August
2017, from Bernadine and John’s checking account without their knowledge, consent, or prior
authorization, causing damage to them;

ii. by not making a good faith investigation of Bernadine and John’s
allegations of unauthorized electronic fund transfers (errors) in their account;

ili. by not provisionally recrediting Bernadine and John’s account within ten
(10) business days of their allegations of unauthorized transfers;

iv. because it did not have a reasonable basis for believing Bernadine and
John’s account was not in error;

v. because it knowingly and willfully concluded that Bernadine and John’s
account was not in error when such conclusion could not reasonably have been drawn from the
evidence available to it at the time;

vi. because it never reimbursed Bernadine and John for the unauthorized
electronic fund transfers (errors).

33B. MidSouth’s failure to comply with provisions of the EFTA subjects MidSouth to
liability under the EFTA for the following:

i, the unauthorized electronic fund transfers (actual damages) from Bernadine

and John’s account;

[2501.00001/427125/5] 2
Case 6:19-cv-00537-MJJ-PJH Document 69 Filed 11/23/20 Page 3 of 6 PagelID #: 573

ii. statutory damages;
iii. treble damages;!
iv. costs of this action, together with reasonable attorneys’ fees as determined
by the court.”
II.
Paragraph 62 of Bernadine’s Fourth Amended and Restated Complaint is replaced with

the following:

“62. Each of the foregoing claims and other facts pleaded herein have resulted in the

following damages:

a. loss of misappropriated or converted assets and funds;

b. treble damages;

c. investigation costs;

d. mental anguish;

e. emotional distress;

f. inconvenience;

g. costs of this action;

h. attorneys’ fees;

i. all other damages pled herein; and

j. such other damages, losses, and injuries of such nature and such amounts as
may be proven at trial.”

 

115 U.S.C. § 1693f(e); 15 U.S.C. § 1693m(a)(1).

[2501.00001/427125/5] 3
Case 6:19-cv-00537-MJJ-PJH Document 69 Filed 11/23/20 Page 4 of 6 PagelID#: 574

IV.

The “Prayer for Relief” in Bernadine’s Fourth Amended and Restated Complaint is

replaced with the following:

“WHEREFORE, Petitioner, Bernadine D. Soileau, individually and in her capacity as the

executrix of the estate of John L. Soileau, Sr., prays that after due proceedings had, there be

judgment in favor of Petitioner and the estate of John L. Soileau, Sr., and against MidSouth and

Zurich for the following:

a.

b.

loss of funds improperly transferred or converted;

treble damages;

investigation costs;

mental anguish;

emotional distress;

inconvenience;

costs of this action;

attorneys’ fees allowed by law;

all other damages and losses pleaded herein;

interest from the improper transfer and taking of Petitioner’s funds; and

such other damages, losses, and injuries of such nature and such amounts as
may be proven at trial.”

V.

Except as replaced herein, Bernadine adopts by reference, as if fully copied and set forth

herein, all allegations and prayers for relief as previously alleged in her Fourth Amended and

[2501.00001/427125/5] 4
Case 6:19-cv-00537-MJJ-PJH Document 69 Filed 11/23/20 Page 5 of 6 PagelID #: 575

Restated Complaint, including but not limited to, paragraphs 1 through 62 of her Fourth

Amended and Restated Complaint.

WHEREFORE, Petitioner, Bernadine D. Soileau, individually and in her capacity as the

executrix of the estate of John L. Soileau, Sr., prays that after due proceedings are had, that there

be judgment in favor of Bernadine D. Soileau on all of her claims and requests for relief herein

and in her Fourth Amended and Restated Complaint, and any other relief she may be entitled to

under the law.

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Respectfully submitted:

PERRET DOISE L.L.C.

s/Henry C. Perret, Jr.
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CAPACITY AS EXECUTRIX OF THE
ESTATE OF JOHN L. SOILEAU, SR.
Case 6:19-cv-00537-MJJ-PJH Document 69 Filed 11/23/20 Page 6 of 6 PagelID #: 576

CERTIFICATE
The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on all counsel of record, on November 20, 2020, who are deemed to
have consented to electronic service via the Court’s CM/ECF system.

T also certify that I have mailed by United States Postal Service this filing to the

following non-CM/ECF participants: N/A

s/Henry C. Perret. Jr.
HENRY C. PERRET, JR.

[2501.00001/427125/5] 6
